18-22178-rdd         Doc 832        Filed 11/06/18      Entered 11/06/18 21:56:08                Main Document
                                                       Pg 1 of 8


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
    In re:                                                     )        Chapter 11
                                                               )
    CENVEO, INC., et al., 1                                    )        Case No. 18-22178 (RDD)
                                                               )
                             Debtors.                          )        (Jointly Administered)
                                                               )

     NOTICE OF FILING OF SEVENTH SUPPLEMENT TO THE PLAN SUPPLEMENT

        PLEASE TAKE NOTICE THAT on June 8, 2018, the United States Bankruptcy Court
for the Southern District of New York (the “Bankruptcy Court”) entered an order (the “Disclosure
Statement Order”), (a) authorizing Cenveo and its affiliated debtors and debtors in possession
(collectively, the “Debtors”), to solicit acceptances for the Third Amended Joint Chapter 11 Plan
of Reorganization of Cenveo, Inc., et al., Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 474, Ex. B] (as modified, amended, or supplemented from time to time, the “Plan”); 2
(b) approving the Third Amended Disclosure Statement for the Third Amended Joint Chapter 11
Plan of Reorganization of Cenveo, Inc. et al., Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 474, Ex. A] (the “Disclosure Statement”) 3 as containing “adequate information”
pursuant to section 1125 of the Bankruptcy Code; (c) approving the solicitation materials and
documents to be included in the solicitation packages; and (d) approving procedures for soliciting,
receiving, and tabulating votes on the Plan and for filing objections to the Plan.

        PLEASE TAKE FURTHER NOTICE THAT on August 21, 2018, the Bankruptcy
Court entered its Findings of Fact, Conclusions of Law, and Order Confirming the Fourth
Amended Joint Chapter 11 Plan of Reorganization of Cenveo, Inc., Et Al., Pursuant to Chapter 11
of the Bankruptcy Code [Docket No. 685] (the “Confirmation Order”).




1     Due to the large number of Debtor entities in these chapter 11 cases, which cases have been jointly administered
      for procedural purposes, a complete list of the Debtor entities and the last four digits of their federal tax
      identification numbers is not provided herein. A complete list of such information may be obtained on the website
      of Cenveo’s claims and noticing agent at https://cases.primeclerk.com/cenveo. The location of Cenveo’s service
      address for purposes of these chapter 11 cases is: 777 Westchester Avenue, Suite 111, White Plains, New York
      10604.

2     On August 9, 2018, after making certain technical modifications to the Plan, the Debtors filed the Fourth Amended
      Joint Chapter 11 Plan of Reorganization of Cenveo, Inc., et al., Pursuant to Chapter 11 of the Bankruptcy Code
      [Docket No. 651].

3     Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan or Disclosure
      Statement, as applicable.



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18-22178-rdd       Doc 832        Filed 11/06/18      Entered 11/06/18 21:56:08                Main Document
                                                     Pg 2 of 8


       PLEASE TAKE FURTHER NOTICE THAT as contemplated by the Disclosure
Statement Order, Plan, and Confirmation Order, the Debtors hereby file the following Plan
Supplement (this “Plan Supplement”) exhibit with the Court: 4

     Exhibit A:          Fourth Amended Assumed Executory Contracts/Unexpired Lease Schedule

     Exhibit B:          Fourth Amended Rejected Executory Contracts and Unexpired Leases
                         Schedule

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to any
rejection of an Executory Contract or Unexpired Lease or any assumption of an Executory Contract
or Unexpired Lease identified in this Plan Supplement is November 20, 2018, at 4:00 p.m.,
prevailing Eastern Time (the “Objection Deadline”). Any objection must: (a) be in writing;
(b) conform to the Bankruptcy Rules, the Local Rules, and any orders of the Bankruptcy Court;
(c) state, with particularity, the basis and nature of any objection and, if practicable, a proposed
modification to the Plan that would resolve such objection; and (d) be filed with the Bankruptcy
Court (contemporaneously with a proof of service) and served upon the applicable parties so as to
be actually received on or before November 20, 2018, at 4:00 p.m., prevailing Eastern Time.

       PLEASE TAKE FURTHER NOTICE THAT any objections to this Plan Supplement
that remain unresolved will be heard at the omnibus hearing date that immediately follows the
Objection Deadline (or such other date as fixed by the Bankruptcy Court).

        PLEASE TAKE FURTHER NOTICE THAT the Debtors reserve the right, subject to
the terms and conditions set forth in the Disclosure Statement Order, Plan, and Confirmation
Order, to alter, amend, modify, or supplement any document in this Plan Supplement.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
Disclosure Statement, Disclosure Statement Order, Plan, Confirmation Order, any Plan
Supplement document, or related documents, you may contact Prime Clerk LLC, the Notice and
Claims Agent retained by the Debtors in these Chapter 11 Cases (the “Notice and Claims Agent”),
by: (a) calling the Debtors’ restructuring hotline at (844) 219-2678; (b) visiting the Debtors’
restructuring website at: https://cases.primeclerk.com/cenveo; and/or (c) writing to Cenveo, Inc.
Ballot Processing, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022. You
may also obtain copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.nysb.uscourts.gov.




4   The attached exhibit amends, supplements, and modifies, as applicable, the exhibits filed in the Notice of Filing
    of Plan Supplement filed on June 29, 2018 [Docket No. 522], the Notice of Filing of Plan Supplement [Docket
    No. 528] filed on July 3, 2018, the Notice of Filing of First Supplement to the Plan Supplement [Docket No. 565]
    filed on July 11, 2018, the Notice of Filing of Second Supplement to the Plan Supplement [Docket No. 648] filed
    on August 8, 2018, the Notice of Filing of Third Supplement to the Plan Supplement [Docket No. 650] filed on
    August 9, 2018, the Notice of Filing of Fourth Supplement to the Plan Supplement [Docket No. 655] filed on
    August 13, 2018, the Notice of Filing of Fifth Supplement to the Plan Supplement [Docket No. 669] filed on
    August 14, 2018, and the Notice of Filing of Sixth Supplement to the Plan Supplement [Docket No. 676] filed on
    August 16, 2018.

                                                         2
18-22178-rdd   Doc 832    Filed 11/06/18    Entered 11/06/18 21:56:08   Main Document
                                           Pg 3 of 8


Dated: November 6, 2018          /s/ Jonathan S. Henes, P.C.
New York, New York               Jonathan S. Henes, P.C.
                                 Joshua A. Sussberg, P.C.
                                 George Klidonas
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 601 Lexington Avenue
                                 New York, New York 10022
                                 Telephone:     (212) 446-4800
                                 Facsimile:     (212) 446-4900
                                 - and -
                                 James H.M. Sprayregen, P.C.
                                 Melissa N. Koss
                                 Gregory F. Pesce (admitted pro hac vice)
                                 KIRKLAND & ELLIS LLP
                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                 300 North LaSalle Street
                                 Chicago, Illinois 60654
                                 Telephone:     (312) 862-2000
                                 Facsimile:     (312) 862-2200

                                 Counsel to Cenveo, Inc., et al.




                                             3
18-22178-rdd   Doc 832   Filed 11/06/18    Entered 11/06/18 21:56:08   Main Document
                                          Pg 4 of 8


                                      Exhibit A

       Fourth Amended Assumed Executory Contracts/Unexpired Lease Schedule
                               18-22178-rdd       Doc 832       Filed 11/06/18     Entered 11/06/18 21:56:08            Main Document
                                                                                  Pg 5 of 8


  Debtor Obligor          Counterparty                    Address                City   State/Country   Zip             Contract Description             Cure Amount
                                                                                                              Contract Award - Group 50030 (Envelopes)
Cenveo Corporation   Office of General Services Corning Tower, Empire State Plaza Albany NY             12242 Wove & Kraft Envelopes (State Agencies)    $       -
18-22178-rdd   Doc 832   Filed 11/06/18    Entered 11/06/18 21:56:08   Main Document
                                          Pg 6 of 8


                                      Exhibit B

     Fourth Amended Rejected Executory Contracts and Unexpired Leases Schedule
                              18-22178-rdd            Doc 832            Filed 11/06/18         Entered 11/06/18 21:56:08                       Main Document
                                                                                               Pg 7 of 8
     Debtor Obligor                Counterparty                        Address1                     City     State/Country Zip                                Contract Description
Cenveo Corporation    Inspirage, LLC                       600 108th Ave. NE, Suite 540        Bellevue      WA            98004 (i) Service Level Agreement (Value Chain Plus Hosting Services), dated
                                                                                                                                 February 16, 2016;
                                                                                                                                 (ii) Support Services Agreement, dated February 16, 2015 (executed in
                                                                                                                                 March 2016)
                                                                                                                                 (iii) Master Services Agreement, dated November 7, 2015, and all
                                                                                                                                 statements of work related thereto;
                                                                                                                                 (iv) Statement of Work - Value Chain Planning Implementation, dated May
                                                                                                                                 21, 2015;
                                                                                                                                 (v) Non-Disclosure Agreement, dated January 5, 2015; and
                                                                                                                                 (v) all other contracts and agreements related to (i) - (v) above.
Cenveo Corporation    Inspirage, LLC                       40 Lake Bellevue, Suite 100         Bellevue      WA             98005 (i) Service Level Agreement (Value Chain Plus Hosting Services), dated
                                                                                                                                  February 16, 2016;
                                                                                                                                  (ii) Support Services Agreement, dated February 16, 2015 (executed in
                                                                                                                                  March 2016)
                                                                                                                                  (iii) Master Services Agreement, dated November 7, 2015, and all
                                                                                                                                  statements of work related thereto;
                                                                                                                                  (iv) Statement of Work - Value Chain Planning Implementation, dated May
                                                                                                                                  21, 2015;
                                                                                                                                  (v) Non-Disclosure Agreement, dated January 5, 2015; and
                                                                                                                                  (v) all other contracts and agreements related to (i) - (v) above.
Cenveo Corporation    Essendant Management Services, LLC   One Parkway North Blvd., Suite 100 Deerfield      IL             60015 (i) 2016 Program Addendum (Effective 01/01/16 - 12/31/16);
                      United Stationers Supply Co.                                                                                (ii) Essendant/Quality Park Products Schedule #1 (Mailing Tubes), dated
                                                                                                                                  August 31, 2016;
                                                                                                                                  (iii) Essendant/Quality Park Products Schedule #8 (POS Add Rolls), dated
                                                                                                                                  August 31, 2016;
                                                                                                                                  (iv) Essendant/Quality Park Products "S", dated August 31, 2016;
                                                                                                                                  (v) Supplemental Terms and Conditions for Suppliers to United Stationers
                                                                                                                                  Supply Co., dated August 23, 2007;
                                                                                                                                  (vi) United Stationers Supply Co. Master Terms and Conditions, dated
                                                                                                                                  August 23, 2007;
                                                                                                                                  (vii) Essendant Allowance Program effective as of January 1, 2015, together
                                                                                                                                  with all schedules and amendments and addendums thereto;
                                                                                                                                  (viii) Non-Disclosure Agreement, dated December 5, 2016; and
                                                                                                                                  (ix) all other contracts and agreements related to (i) - (viii) above.
Cenveo Corporation    Quadient USA Inc.                    470 Atlantic Ave., 4th Floor        Boston        MA             02210 (i) Master License and Services Agreement, dated January 9, 2018, and all
                      Quadient Americas                                                                                           exhibits and addendums, and amendments related thereto;
                                                                                                                                  (ii) Quadient Solution Installation for Cenveo (Remote) PSO SOW, dated
                                                                                                                                  January 9, 2018, together with all exhibits and all other related SOW's;
                                                                                                                                  (iii) Quadient Order Schedule for Maintenance and Support Services through
                                                                                                                                  January 31, 2021; and
                                                                                                                                  (iv) all other contracts and agreements related to (i) - (iii) above.

                                                           Michael Gardner                     Virginia Beach VA            23462
                                                           Troutman Sanders, LLP
                                                           222 Central Park Ave., Suite 2000
Cenveo Corporation    Cintas Corporation                   481 Pleasant St.                    Lee           MA             01238 Facility Services Rental Service Agreement for Chicopee, MA, dated July
                                                                                                                                  26, 2016
Cenveo Corporation    Cintas Corporation                   320 Westec Dr.                      Mt Pleasant   PA             15666 (i) Deep Clean Service Agreement for Mt. Pleasant, PA, dated April 19,
                                                                                                                                  2018, together with all inserts and exhibits thereto; and
                                                                                                                                  (ii) Facility Services Rental Service Agreement for Mt. Pleasant, PA
                                    18-22178-rdd               Doc 832        Filed 11/06/18           Entered 11/06/18 21:56:08                         Main Document
                                                                                                      Pg 8 of 8
      Debtor Obligor                    Counterparty                          Address1                     City      State/Country Zip                              Contract Description
Cenveo Corporation          Storeroom Solutions, Inc.            16888 State Route 706                Montrose       PA            18801 (i) Master Agreement for Comprehensive Storeroom Management Services,
Cadmus Journal Services,                                                                                                                 dated June 1, 2001, together with all exhibits, addendums, and amendments
Inc.                                                                                                                                     thereto; and
Cadmus Communications                                                                                                                    (ii) Master Agreement for Comprehensive Storeroom Management Services,
Corporation                                                                                                                              dated June 3, 2002, together with all exhibits, addendums, and amendments
Cadmus Delaware, Inc.                                                                                                                    thereto.
Cadmus Marketing Group,
Inc.
Cadmus Marketing, Inc.
Cadmus Printing Group, Inc.



                                                                 Two Radnor Corporate Center, Suite   Radnor         PA              19087
                                                                 400
                                                                 100 Matsonford Road
Cenveo Corporation          Allegro Sanitation Corp.             278 Secaucus Road                    Secaucus       NJ              07094 Solid Waste Removal Service Agreement for Jersey City, NJ
Cenveo Corporation          Republic Waste                       12976 St. Charles Rock Road          Bridgeton      MO              63044 Waster Service Agreement for St. Louis
Cenveo Corporation          LogicSource, Inc.                    20 Marshall Street                   Norwalk        CT              06854 (i) Master Services Agreement, dated December 31, 2017, together with all
                                                                                                                                           exhibits, addendums, SOW's, and amendments thereto; and
                                                                                                                                           (ii) Statement of Work 1: Sourcing And Procurement Services, dated
                                                                                                                                           December 31, 2017, together with all exhibits, addendums, and amendments
                                                                                                                                           thereto.
Cenveo Corporation          Money Mailer, LLC                    n/a                                  n/a            n/a             90630 Amendment to Production Services Agreement, dated September 12, 2012,
                                                                                                                                           adding a schedule setting standards for paper and a 50/50 divide of paper
                                                                                                                                           savings between Money Mailer and Cenveo
Cenveo Corporation          Money Mailer, LLC                    6261 Katella Avenue, Suite 200       Cypress        CA              90630 Envelope Purchase Agreement, effective as of November 9, 2017, together
                                                                                                                                           with all appendices
Cenveo Corporation          Money Mailer, LLC                    12131 Western Avenue                 Garden Grove   CA              92841 Production Services Agreement dated September 10, 2012, setting a term of
                                                                                                                                           5 years and autorenewal of 1 year terms, together with all schedules

Cenveo Publisher Services   Money Mailer, LLC                    n/a                                  n/a            n/a              n/a  Addendum, dated June 10, 2013,setting specifications for customer-supplied
                                                                                                                                           paper to the Proposal/Agreement dated January 16, 2013
Cenveo Corporation          Employee Solutions Arlington LLC     3585 National Drive                  Plano          TX              75025 Agreement to provide human resources services
Cenveo Corporation          KT Black Services                    900 SW 7th Avenue                    Amarillo       TX              79101 Agreement to arrange for temporary workers
